JS 44 (Rev. 09/11)
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                                                                             CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                         DEFENDANTS
                                   Evergreen Power, LLC                                                                                  United Illuminating Company
                                   Asnat Realty, LLC

     (b) County of Residence of First Listed Plaintiff New Haven                                          County of Residence of First Listed Defendant              New Haven
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.


     (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
                          Law Offices of Alan M. Kosloff
                          28 North Main St., West Hartford CT 06107
                          Alan M. Kosloff
II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                     (For Diversity Cases Only)                                         and One Box for Defendant)
’ 1     U.S. Government               ’ 3 Federal Question                                                                    PTF        DEF                                           PTF      DEF
          Plaintiff                         (U.S. Government Not a Party)                       Citizen of This State         ’ 1        ’ 1       Incorporated or Principal Place      ’ 4 ’ 4
                                                                                                                                                   of Business In This State

’ 2     U.S. Government               ’ 4 Diversity                                             Citizen of Another State          ’ 2     ’    2   Incorporated and Principal Place     ’    5   ’ 5
          Defendant                         (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                Citizen or Subject of a           ’ 3     ’    3   Foreign Nation                       ’    6   ’ 6
                                                                                                  Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)
           CONTRACT                                          TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                     OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY         ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158            ’   375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -         of Property 21 USC 881        ’ 423 Withdrawal                   ’   400 State Reapportionment
’   130 Miller Act                   ’   315 Airplane Product               Product Liability   ’ 690 Other                               28 USC 157                   ’   410 Antitrust
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                               ’   430 Banks and Banking
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                            PROPERTY RIGHTS                  ’   450 Commerce
        & Enforcement of Judgment             Slander                       Personal Injury                                         ’ 820 Copyrights                   ’   460 Deportation
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                       ’ 830 Patent                       ’   470 Racketeer Influenced and
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                       ’ 840 Trademark                            Corrupt Organizations
        Student Loans                ’   340 Marine                         Injury Product                                                                             ’   480 Consumer Credit
        (Excl. Veterans)             ’   345 Marine Product                 Liability                        LABOR                      SOCIAL SECURITY                ’   490 Cable/Sat TV
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY        ’   710 Fair Labor Standards        ’   861 HIA (1395ff)               ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud                 Act                         ’   862 Black Lung (923)                   Exchange
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending    ’   720 Labor/Mgmt. Relations       ’   863 DIWC/DIWW (405(g))         ’   890 Other Statutory Actions
’   190 Other Contract                       Product Liability        ’ 380 Other Personal      ’   740 Railway Labor Act           ’   864 SSID Title XVI             ’   891 Agricultural Acts
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage     ’   751 Family and Medical          ’   865 RSI (405(g))               ’   893 Environmental Matters
’   196 Franchise                            Injury                   ’ 385 Property Damage             Leave Act                                                      ’   895 Freedom of Information
                                     ’   362 Personal Injury -              Product Liability   ’   790 Other Labor Litigation                                                 Act
                                             Med. Malpractice                                   ’   791 Empl. Ret. Inc.                                                ’   896 Arbitration
        REAL PROPERTY                      CIVIL RIGHTS               PRISONER PETITIONS                Security Act                  FEDERAL TAX SUITS                ’   899 Administrative Procedure
’   210 Land Condemnation            ’   440 Other Civil Rights       ’ 510 Motions to Vacate                                       ’ 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
’   220 Foreclosure                  ’   441 Voting                         Sentence                                                       or Defendant)                       Agency Decision
’   230 Rent Lease & Ejectment       ’   442 Employment                 Habeas Corpus:                                              ’ 871 IRS—Third Party              ’   950 Constitutionality of
’   240 Torts to Land                ’   443 Housing/                 ’ 530 General                                                        26 USC 7609                         State Statutes
’   245 Tort Product Liability               Accommodations           ’ 535 Death Penalty              IMMIGRATION
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 540 Mandamus & Other    ’ 462 Naturalization Application
                                             Employment               ’ 550 Civil Rights        ’ 463 Habeas Corpus -
                                     ’   446 Amer. w/Disabilities -   ’ 555 Prison Condition          Alien Detainee
                                             Other                    ’ 560 Civil Detainee -          (Prisoner Petition)
                                     ’   448 Education                      Conditions of       ’ 465 Other Immigration
                                                                            Confinement               Actions

V. ORIGIN                 (Place an “X” in One Box Only)
                                                                                                                  Transferred from
’ 1 Original           ’ 2 Removed from          ’ 3 Remanded from             ’ 4 Reinstated or ’ 5 another district                    ’ 6 Multidistrict
    Proceeding             State Court                    Appellate Court              Reopened                   (specify)                       Litigation
                                   Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            42 U.S.C. 9607 and 9613(b)
VI. CAUSE OF ACTION Brief description of cause:
                                            Environmental claims pursuant to CERCLA and related state claims (including C.G.S. 22a-16)
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                             DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER F.R.C.P. 23                                                                                                     JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                        DOCKET NUMBER

DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD

01/05/2012                                                             /s/Alan M. Kosloff
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                  APPLYING IFP                                    JUDGE                           MAG. JUDGE


                 Print                                Save As...                                                                                                              Reset
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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT
                                      :
Evergreen Power, LLC and              :
Asnat Realty, LLC                     :
                                      :
              Plaintiffs              :
                                      :
       v.                             :
                                      :
United Illuminating Company           :
                                      :
              Defendant               :    January 5, 2012

                                          COMPLAINT

       The plaintiffs, Evergreen Power, LLC and Asnat Realty, LLC, through their attorneys,

allege as follows:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction over the claims arising under ' 107 of the Comprehensive

Environmental Response Compensation and Liability Act of 1980 as amended ("CERCLA"), 42

U.S.C. '' 9607 and 9613(b), and the Federal Questions Statute, 28 U.S.C. ' 1331. This Court has

supplemental jurisdiction over claims under the laws of Connecticut pursuant to 28 U.S.C. ' 1367.

       2.      Venue is proper in the United States District Court for the District of Connecticut

because it is the district in which the damage complained of by the Plaintiffs occurred, pursuant to

42 U.S.C. ' 9613(b), and it is the district which contains the property that is the subject of this

action, 28 U.S.C. ' 1391.

       3.      Plaintiff also seeks a declaration by this Court, pursuant to the Declaratory Judgments

Act, 28 USC '' 2201-2202.
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                                             PARTIES

       4.      The Plaintiff, Evergreen Power, LLC, is a Delaware limited liability company,

doing business in Connecticut, with a principal office and place of business located at 220-46 73rd

Avenue, Bayside, NY 11364.

       5.      The Plaintiff, Asnat Realty, LLC, is a Delaware limited liability company, doing

business in Connecticut, with a principal office and place of business located at 220-46 73rd

Avenue, Bayside, NY 11364.

       6.      The Defendant, United Illuminating Company, is a Connecticut corporation.



                 FACTUAL BACKGROUND COMMON TO ALL COUNTS

       7.      Evergreen Power, LLC and Asnat Realty, LLC are the owners of real estate in the

City of New Haven, Connecticut, formerly known as English Station (“Property”), by virtue of the

following deed(s):

       a.      A certain Warranty Deed, dated December 9, 2006 and recorded in Volume 7814 at

Page 014 of the New Haven Land Records, in which the Grantor, Quinnipiac Energy, LLC

transferred to Evergreen Power, LLC, as Grantee, that certain piece of property more particularly

therein described. Exhibit A.

       b.      A certain Warranty Deed, dated December 9, 2006 and recorded in Volume 7817 at

Page 195 of the New Haven Land Records, in which the Grantor, Quinnipiac Energy, LLC

transferred to Asnat Realty, LLC, as Grantee, that certain piece of property more particularly therein

described. Exhibit B.


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       8.      The Defendant is a former owner of the Property, having transferred the Property to

Quinnipiac Energy, LLC by way of a Quit Claim Deed dated August 16, 2000 and recorded in

Volume 5716 at Page 72 of the New Haven Land Records. Exhibit C.

       9.      From 1914 to August 2000 the Defendant owned the Property and operated thereon.

       10.     Defendant’s operations on the Property resulted in spills and releases, and threats of

releases, of hazardous substances to soils and groundwater at the Property; and releases or threats of

releases to abutting surface waters, the Mill River.

       11.     Spills and releases of hazardous substances to soils and groundwater at the Property,

and releases or threats of releases to abutting surface waters, the Mill River, occurred during

Defendant’s ownership of the Property.

       12.     Some investigation and remediation work has been performed at the Property,

additional investigation and remediation is required to fully characterize and remediate the releases,

and threats of releases, to soils, groundwater, and the Mill River.

       13.     Significant Environmental Hazards (“SEHs”), as defined by CGS § 22a-6u, have

been identified in 5 locations on the Property. Polychlorinated Biphenyl (PCB) contamination in

these SEH areas is attributable to Defendant’s operations at the Property and/or occurred during

Defendant’s ownership of the Property.




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                                    FIRST COUNT
                              CERCLA (42 U.S.C. ' 9601 et. seq.)

       14.     Plaintiffs re-allege and incorporate by reference each and every allegation in

Paragraphs 1 through 13 of this Complaint as if fully set forth herein.

       15.     Evergreen Power, LLC and Asnat Realty, LLC are each a "person" within the

meaning of 42 U.S.C. ' 9607(a).

       16.     UI is a "person" within the meaning of 42 U.S.C. ' 9607(a).

       17.     The Property is a "facility" within the meaning of CERCLA ' 101(9), 42 U.S.C. '

9601(9).

       18.     "Hazardous substances” within the meaning of CERCLA ' 101(14), 42 U.S.C. '

9601(14) have been released at the Property.

       19.     There have been and continue to be actual and threatened releases of hazardous

substances into or upon Property within the meaning of CERCLA ' 101(22), 42 U.S.C. ' 9601(22).

       20.     The Defendant is a "person" who owned and operated the Property during the time

that releases of hazardous substances occurred at the Property.

       21.     Plaintiffs have incurred costs, and continues to incur costs, in response to said

releases and threatened releases.

       22.     All such costs constitute costs of investigation, removal, or remedial action within the

meaning of CERCLA ' 107(a), 42 U.S.C. '' 9607(a) and CERCLA § 101(23 & 24), 9601(23 & 24);

to the extent required by law, all such costs are consistent with the National Contingency Plan.

       23.     Pursuant to CERCLA ' 107(a), 42 U.S.C. ' 9607(a), the Defendant is liable for



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Plaintiffs’ costs for investigation, removal, or remedial action.



                                        SECOND COUNT
                              (Connecticut General Statutes ' 22a-16)

       24.     Plaintiffs re-allege and incorporate by reference each and every allegation in

Paragraphs 1 through 13 of this Complaint as if fully set forth herein.

       25.     Defendant released, or suffered, permitted, or allowed to be released, hazardous

substances at the Property.

       26.     Defendant’s conduct, as aforesaid, caused unreasonable pollution, impairment, or

destruction of the public trust in the water and other natural resources of the State.

       27.     Plaintiffs are entitled to declaratory and equitable relief as is required to protect the

public trust in the air, water, and other natural resources of the State of Connecticut from

unreasonable pollution, impairment, or destruction, as well as their costs, including reasonable costs

for witnesses and a reasonable attorney's fee as provided for in CGS § 22a-18(e).



                                         THIRD COUNT
                               (Declaratory Relief Under CERCLA)

       28.     Plaintiffs re-allege and incorporate by reference each and every allegation in

Paragraphs 1 through 22 of this Complaint as if fully set forth herein.

       29.     An actual controversy exists between the Plaintiffs and the Defendant in that the

Plaintiffs contend that the Defendant has obligations and potential legal liabilities under CERCLA

for such costs as have been or will be incurred for activities performed in the investigation and


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remediation of hazardous substance contamination at the Property.

        30.     Absent judicial declaration setting forth the parties rights and obligations with respect

to these costs, a multiplicity of actions may result. Plaintiffs, therefore, request a judicial

determination of the rights and obligations of the parties with regard to the hazardous substance

contamination and allocation of costs and responsibilities between the Plaintiffs and the Defendant.

        31.     Plaintiffs request a judicial declaration setting forth Defendant’s liability to the

Plaintiffs with respect to such costs and expenses as have been or will be incurred for the

investigation and remediation of hazardous substance contamination existing at the Property.


                                     FOURTH COUNT
                        (Promissory Estoppel / Breach of Oral Contract)

        32.     Plaintiffs re-allege and incorporate by reference each and every allegation in

Paragraphs 1 through 9 of this Complaint as if fully set forth herein.

        33.     On information and belief, UI was aware of certain transformers, transformers

previously owned and operated by UI, which remained on the site and contained high concentrations

of pcb oil.

        34.     On information and belief, UI believed that these transformers posed a spill risk and,

ultimately, a liability risk for UI.

        35.     In early January of 2011, Tony Marone of UI contacted the Plaintiffs concerning

these transformers.

        36.     To eliminate the risk of a spill and associated liability, on behalf of UI, Tony Marone

offered to reimburse the Plaintiffs for removal and proper disposal of the transformers and associated


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pcb oils in exchange for Plaintiffs undertaking the arrangements for same.

       37.     UI refused to execute a written agreement; on information and belief, this refusal was

based on concerns over admissions of liability with respect to the transformers prior to their proper

disposal.

       38.     Plaintiffs accepted UI’s offer and, in reliance on UI’s promise, proceeded to properly

dispose of the transformers, including the associated pcb oils.

       39.     UI was consulted and informed concerning the methods of pcb oil disposal.

       40.     Plaintiffs incurred costs of approximately $100,000 for this work.

       41.     On completion of the work, Plaintiffs demanded reimbursement pursuant to UI’s

promise and/or oral agreement.

       42.     UI, through Tony Marone, refused to reimburse Plaintiffs for the incurred costs.

       43.     Plaintiffs acted in good faith reliance on UI’s offer and UI benefited from Plaintiffs

performance of the work.

       44.     Plaintiffs have suffered damages as a result of UIs failure to perform on its promise

and/or breach of its oral agreement.




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                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against United Illuminating Company as follows:

1.      For declaratory judgment that United Illuminating Company is jointly and severally liable

        for the presence of hazardous substance contamination at the Property;

3.      For an Order directing that United Illuminating Company reimburse Plaintiffs for all costs

        they have incurred and will incur for the testing, investigation, and remediation of hazardous

        substance contamination at the Property, including any necessary testing, investigation, and

        remediation of neighboring properties and the Mill River;

4.      Declaratory and equitable relief pursuant to CGS § 22a-16, specifically: an Order directing

        Defendant to investigate and remediate the Property in accordance with applicable standards

        including, without limitation, the Connecticut Residential Direct Exposure Criteria;

4.      Money damages;

5.      Costs and attorneys= fees pursuant to CGS ' 22a-18(e);

6.      Any other relief the court may deem just and proper.

                                                      Respectfully Submitted,
                                                      Plaintiffs
                                                                     /s/Alan M. Kosloff
                                                              ___________________________
                                                      By:     Alan M. Kosloff
                                                              Federal Bar #ct05554
                                                              Law Offices of Alan M. Kosloff
                                                              Their Attorneys
                                                              28 North Main Street
                                                              West Hartford, CT
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